THE STATE OF NEW HAMPSHIRE

ROCKINGHAM, SS SUPERIOR COURT
Lewis B. Sykes, Ir.
Plaintiff
Vv.
Docket Number:
RBS Citizens, N.A.
Bank of America, NLA,

Bank of New York Mellon
CCO Mortgage Corporation
Pederal National Mortgage Association

Citibank, N_A.

Defendants

VERIFIED COMPLAINT

NOW COMES the Plaintiff, Lewis B. Sykes, Jr., and complains as follows:

STATEMENT OF THE PARTIFS

The Plaintiff, Lewis B: Sykes, Ir, is a natural person who resides at 482

Winnacunnet Road, Hampton, New Hampshire, 03842.

Defendant RBS Citizens, N.A. (hereinafter referred to as “RBS Citizens”) is a
national banking association with an address of One Citizens Plaza,
Providence, RI 02903.

Defendant Bank of America, NLA. (hereinafter referred to as “Bank of
America”), is a ational banking association, The address of Bank of
America’s headquarters is 100 North Tryon Street, Charlotte, North Carolina

28202,
Defendant Bank of New York Mellon (hereinafter referred to as “BNY
Mellon”), is @ national banking corporation, ‘The address.of BNY Mellon’s
headquarters js 1 Wall Street, New York: NY 10005:

Defendant CCO Mortgage Corporation (hereinafter referred to as “CCO
Mortgage”) is a corporation with an address of 10561 Telegraph Road, Glen
Allen, VA 23059. CCO Mortgage isa division of Defendant RBS Citizens.
Defendant Federal National. Mortgage Association (hereinafter referted to as
“Fannie Mae”) is sovernment sponsored public company with an address of:
P.O. Box 650043, Dallas, TX 75265.

Defendant Citibank, N.A, (Hereinafter referred to as Citibank) is a national
banking association. The address of Citibank’s headquarters is 399 Park
Avenue, New York, NY 10043.

JURISDICTION AND VENUE

The Plaintiff's claims in this action arise from unlawful acts committed by. the
Defendants in the course of doing business in New Hampshire, so that this:
Court has jurisdiction over all of the Defendants pursuantto. RSA 510-4 (1).
As the Plaintiff resides in this county, venue is proper in this Court pursuant to

RSA 507:9.

BACTS

The. Plaintiff and his mother Dorothy W. Sykes owned the property located at
i047 Banfield Road in Portsmouth, New Hampshire (hereinafter referred to as

“the homestead”).
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On August 31, 2005, Plaintiff and Dorothy W, Sykes entered into a mortgage.
loan number 0019085068 with. CCO Mortgage in the amount of $225,000.
The loan from CCO Mortgage was secured by a mortgage on the homestead to
CCO Mortgage, which was recorded in the Rockingham County Registry of
Deeds on September 7:.2005.

In November of 2008, Plaintiff received a mortgage bill with: an unexplained
additional amount of $400.

Plaintiff ‘contacted Defendant CCO Mortgage in November and December.of
2008 and January of 2009 to find out why the additional $400 chatge was
added to the morigage bill, and stopped paying the mortgage.

At no time after December of 2008, did Defendants provide Plaintiff with

monthly billing statement...

Defendant CCO Mortgage sent a letter to Plaintiff dated January 6, 2008 {sic},

‘in-tesponse to Plaintiff's January of 2009; correspondence.

Defendant CCO Mortgage-never tésolved the issue of the additional $400

charge.

Defendant CCO Mortga ge sent Plaintiffan annual escrow account disclosure

Statement dated September 23, 2009:

Between January 6, 2009, and September 23, 2009, Defendants failed to send

to Plaintiff any documents whatsoever.

Upon information and belief, CCO Mortgage assigned the mortgage to Féderal

National Mortgage Association on July 30, 2009.

Defendants never sent a notice of default to the. Plaintiff.
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Defendants never sent a notice of acceleration to the Plaintiff.

Defendants never sent 4 notice of foreclosure -to the Plaintiff,

On October 2, 2009, Plaintiff was mowing the lawn at the homestead when he
noticed several cars parked at the end of his driveway and half a dozen people
Standing around,

Plaintiff went to find out why the cars. and people were there,

‘Plaintiff was told by the person in charge that he was running an auction on the

Plaintiff's house.

The Auctioneer told the Plaintiff that “it was not the end of the road” because
he could still “work it out” with the Defendants.

Upon information and belief, the homestead was sold at a foreclosure auction
on October 2,.2009.

On October 23, 2009, Defendants’ representative Robert Kelly delivered a
“cash for. keys” written proposal to the Plaintiff.

Plaintiff refused the proposal because he was not able to-move out within the
time period requested in the proposal.

In the evening of November 2, 2009, Defendants left an undated eviction
notice at the Plaintiff’s home door:

In late November of 2009, Defendants’ sepresentative Robert Kelly caused the
utilities to be shut off at the homestead.

As a result of the utility stoppage; no heat existed at the homestead.
Defendants’ Shutting off the utilines caused the pipes to freeze and burst

causing damage to Plaintiff’s personal property.
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Plaintiff was not served and was notaware that there was a possessory

Plaintiff vacated the homestead on November 25, 2009.

Defendants did not serve-a landlord lenant writ or writ of possession on the
Plaintiff.

action
started in Portsmouth District Court jn December of 2009.

Under 22 of the mortgage contract between Plaintiff and CCO Mortgage;

Defendants were obligated to give notice: to Plaintiff regarding the breach of

the contract informing the Plaintiff about his ri ghis.

Under ¥ 22 of the mottigage contract between Plaintiff and CCO Mortgage,

Defendants were obligated to give notice to Plaintiff regarding the auction of
the homestead in compliance with the New Hampshire law.
Defendants breached the contract by failing to provide the notice of default,
notice of acceleration and notice-of auction.
Plaintiff for the first time received the following on April 25, 2011, from the
Bank. of America:
1. Notice of default;

ti. Notice of acceleration;

ul: Notice of foreclosure:
The notice of default was dated December 8, 2008.
On December 8, 2008; Pl aintiff was only approximately:21 days late. on his
payment,

Upon information and belief, Bank of America, didnot hold the mortgage in

December of 2008.
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Plaintiff did not and could not have discovered the following until April of

2011:
L. Notice of defauit:

ii. Notice of acceleration;

iii. Notice of foreclosure,
Until April of 2011, Plaintiff did not know why the homestead was foreclosed
and until thea was not aware of his rights enumerated in the notice of the
default.
Upon information and beliéf, the homestead was sold to.a third party on May
27, 2010.
Because Plaintiff did not receive notices of default, acceleration, foréclosuré,
or writ of possession, Plaintiff did not know and could not have known. until, at
the earliest, May 27, 2010, that he no longer had a possessory interest ini the
homestead,
Defendants fraudulently concealed the facts of default, acceleration and
foreclosure by failing to inform the Plaintiff.
Plaintiff did not find out the reason for the foreclosure until April of 2011
when he received the notices of default, acceleration and foreclosure auction
from defendant Bank of America.
As a result of the fraudulent concealment, Plaintiff did not discover the facts

essential to the cause of action until April of 2011.

COUNT I
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BREACH OF CONTRACT

The Plaintiff repeats and realleges the allegations of Patagraphs 1 throu gh Si

herein.

Defendants breached the contract between Plaintiff and CCO Mortgage by not

providing Plaintiff with the notice of default; notice of acceleration and notice.

of foreclosure sale,

Because Defendants did not send said Notices, Plaintiff was not informed that

he was in default, that his loan Was accelerated and that the homestead was

g0ing to be sold at a foreclosure auction.

Because Defendants did not inform the Plaintiff, he did not know about his
rights to petition the court to assert non-existence of default and, therefore,
Plaintiff was.deprived on an opportunity to assert his rights:

Because Defendants didnot inform the Plaintiff, he did not know about his
rights to cure the default and remstate the loan, and therefore, Plaintiff was:
deprived of his rights to cure and reinstate:.

Because Defendants did not inform the Plaintiff, he did not know about his.
right to petition the court to enjoin the foreclosure, and, therefore, Plaintiff Was
deprived of his rights to enjoin the foreclosure.

At the time of Signing of the contract, it was foreseeable that failure to give.
notices to Plaintiff that this account was in default, was accelerated, and his
homestead was to be foreclosed could resultin loss of equity in the homestead,

loss. of homestead exemption, loss of personal property, extreme anguish and

emotional distress.
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AS a result of Defendants’ breach of contract, Plaintiff did suffer loss of equity
in the homestead, loss of homestead exemption, loss of personal property,
extreme anguish and emotional distress.

COUNT I

WRONGFUL FORECLOSURE

The Plaintiff repeats and realleges the allegations of Paragraphs 1 through 59
herein,
NH RSA.479:25 Specifies that notice of a foreclosure must be served on of
mailed to the mortgagor af least 25 days prior to a foreclosure auction aind that
“such notice of sale shall be sufficient if it fully sets forth the date, time, and
place of sale; the town, county, street or highway and street number, if any, of
the mortgaged premises; the date of the morgage; the volume and page of the
recording of the mortgage; and the terms of the sale.”
Defendants did not mail the notice of the foreclosure ‘auction to Plaintiff in the.
manner required by New Hampshire law.
Defendants failed to notify Plaintiff of the date, time or place of the foreclosure
auction on his property, which took place in October of 2009.
Upon information and belief, the Plaintiffs home has been sold by the
defendants to another person or persons causing the Plaintiff to suffer extreme
anxiety, financial loss, deprivation of a unique asset, and embarrassment:

COUNT Il

WRONGFUL EVICTION
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The Plaintiffrepeats and realleges the allegations of Paragraphs 1 through 64

herein:

After the foreclosure auction, the Plaintiff became a tenant at sufference,
Under New Hampshire law, landlords’ are expressly forbidden.to use “self
help” to evict tenants at sufferance.

Shutting off the utilities by Defendants caused Plaintiff's homestead to be
uninhabitable and constituted constructive eviction.

Shutting off the utilities by Defendants caused the pipes to freeze and burst
causing water damage to Plaintiff's personal property.

AS. a result-of the wrongful constructive eviction, Plaintiff was not served and
was not aware that a landlord/tenant action was brought in Portsmouth District
Court in December of 2009.

Plaintiff was deprived of the opportunity to challenge the wrongful eviction.
because he was never notified of the suit in Portsmouth District Court.

As a result of the wrongful eviction, Plaintiff suffered damage to his personal
property, financial loss and ‘extreme anxiety.

COUNT IV

VIOLATIONS. OF REAL ESTATE SETTLEMENT PROCEDURES ACT (RESPA”)

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The Plaintiff repeats and realleges the allegations of Paragraphs 1 through 72
herein,

RESPA requires that once the servicer of a mortgage loan receives a qualified
wiitten:request from the borroweér, the servicer must acknowledge the receipt

of the correspondence and no later than 30 days after the receipt, servicer must
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make appropriate corrections in the borrower’s account or explain to the

borrower why the servicer believes the account to be correct, US:CA.§

2605(e).

Plaintiff sent qualified written requests in November and December of 2008, as

well as January of 2009 asking for an explanation for the additional $400

‘Charge.

Defendant CCO Mortgage sent a letter to Plaintiff dated January.6,.2008 [sic],
in response to Plaintiff's January of 2009, correspondence.
In that letter, Defendant CCO Mortgage failed to explain the additional $400
charge and failed to correct Plaintiffs account in violation of RESPA,
Defendants never explained the $400 charge or corrected the Plaintiff’s
account.
At the time of the foreclosure sale in October of 2009, Plaintiff was still trying:
to have the issue of the $400 charge resolved,
Because of the Defendants’ failure to explain the additional charges or-correct:
Plaintiff’s account, he suffered financial loss and emotional-distress.
COUNT ¥.

CIVIL CONSPIRACY
The Plaintiff repeats and realleges the allegations of Para graphs 1 through 80
herein,
Plaintiff had contacted Defendants to find out why there was a charge of $400
added to his bill,

Defendants did not resolve the isstie of the $400 charge.

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84. As of October 2, 2009, Plaintiff was stil] trying to résolve the $400 issue and

had had no notices that his account was.in default, that the loan was accelerated
and that the homestead was going to be auctioned.
85. Defendants did not inform the Plaintiff that his mortgage has been assigried

from CCO Mortgage to Federal National Mortgage Association in July of
2009.

86.., CCO Mortgage sent Plaintiff an annual escrow account disclosure statement

dated September 23,2009, fraudulently mistepresenting to the Plaintiff that
CCO Mortgage still owned the mortgage at that time.

87, RBS Citizens sent Plaintiff a letter dated September 28, 2009, offering to
modify his loan and fraudulently misrepresenting to the Plaintiff that CCO
Mortgage still ownéd the mortgage at that time.

88. Defendants CCO Moriga ge, RBS Citizens and Federal National Mortgage:
Association concealed information from Plaintiff about the status of the loan
and his legal rights and fraudulently misrepresented the ownership of the
mortgage.

89, As-a result of Defendants’ civil conspiracy to commit fraud, Plaintiff suffered
damages of loss of equity in the homestead, loss of homestead exemption, loss

of personal property, extreme anguish and emotional distress,

WHEREFORE, the Plaintiff, Lewis B. Sykes, Jr., having set forth his claims for relief
against the Defendants; respectfully prays:

A. That the Court finds breach of contract and awards damages to Plaintiff;

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That the Court finds wrongful foreclosure and awards damages to Plaintiff;

That the Court finds wrongful eviction and awards damages to Plaintiff:

. That the Court finds violations of RESPA and awards to Plaintiff:

a. Actual damages under 12 US.C.A.§ 2605(D)(1)(A) including but not limited
to lost equity in the home and loss of homestead exemption;

Additional damages under 12 U.S.C.A, §.2605((1)(B) for pattern and practice of

noncompliancé:
c. Costs of the action and attorneys fees under 12 U.S.C.A. § 2605(f)(3);
That the Court finds civil conspiracy and awards damages to Plaintiff;
That the Plaintiff has and recovers judgment against the Defendants for damages
of loss of equity in the homestead, loss of homestead exemption, loss. of personal

property, extreme anguish and emotional distress, attorney fees and costs:

G. That the Court grant such other and further relief as may be just and proper:

Respectfully submitted,

Dated: Efnufya By:

By and through his attomeys,

HARMAN LAW OFFICES

Date: = (24 4 By: fe oe A
Terrie/Hatman, NHB#1096 —--~__
59 Deer Street, Suite 1B
Portsmouth, NH 03801
(603) 431-0666

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COUNTY OF ROCKINGHAM, SS.

Personally appeared the above named, Lewis B. Sykes, Ir,

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